                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


RAJIV SHAH GOSAIN,

               Plaintiff,
       v.
                                                      Civil Action No. 18-2427 (TJK)
REPUBLIC OF INDIA et al.,

               Defendants.


                                             ORDER

       Rajiv Shah Gosain, appearing pro se, filed this suit in the Southern District of New York

in August 2018—almost a year and a half ago—against the Republic of India and related

defendants. The case was transferred to this Court in October 2018. But it cannot move forward

until Gosain addresses at least two threshold deficiencies.

       First, Gosain’s complaint violates Local Rule 5.1(c)(1) because it does not identify his

“full residence address,” and, if he intends to continue pro se, his telephone number. “Failure to

provide the address information within 30 days of filing may result in the dismissal of the case

against the defendant.” LCvR 5.1(c)(1); LCvR 11.1. The Court notes that the complaint

identifies the name and address of Gosain’s purported attorney Elias N. Sakalis. ECF No. 1 at 1.

However, Mr. Sakalis is not permitted to appear in the District of Columbia, and the Court

denied without prejudice his Motion for Leave to Appear Pro Hac Vice. See Minute Order of

July 10, 2019. For that reason, at least at this point, Gosain appears pro se.

       Second, Gosain has failed to file proof of service with the Court pursuant to Federal Rule

of Civil Procedure 4(l). Almost one year ago, the Court ordered Gosain to either file proof of

service or a status report apprising the Court of his attempts to serve Defendants pursuant to the

Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. § 1608. See Minute Order of December
17, 2018. Gosain responded the following month that he tried to serve Defendants pursuant to

28 U.S.C. § 1608(a)(3) by requesting that the Clerk of the Southern District of New York mail

the necessary service documents to Defendants. See ECF No. 19. However, he conceded that

ultimately “service [was] not . . . made upon Defendants.” Id. at 3. Gosain then made the same

request of the Clerk of this Court. See ECF No. 20. Plaintiff has not filed proof of service or

explained any effort to serve Defendants since this request to the Clerk’s Office almost a year

ago.

       Although Rule 4(m)’s 90-day time limit for service of process does not apply to the

FSIA, 28 U.S.C. § 1608, see Fed. R. Civ. P. 4(j)(1), and “there is no statutory deadline for

service under the [FSIA],” Barot v. Embassy of the Republic of Zambia, 785 F.3d 26, 29 (D.C.

Cir. 2015), dismissal for failure to prosecute due to a delay in service is appropriate when “there

is a lengthy period of inactivity.” Id. (quoting Angellino v. Royal Family Al–Saud, 688 F.3d 771,

775 (D.C. Cir. 2012)).

       Accordingly, it is hereby ORDERED that, no later than January 6, 2020, Gosain shall

(1) amend his complaint to comply with Local Rule 5.1(c)(1); and (2) either file proof of service

with the Court or a status report apprising the Court of his efforts to serve Defendants, consistent

with 28 U.S.C. § 1608(a) and the law of this Circuit. See Hardy Expl. & Prod. (India), Inc. v.

Gov’t of India, 219 F. Supp. 3d 50 (D.D.C. 2016). Failure to do so may warrant dismissal of the

action for “failure to prosecute or otherwise comply with a court order.’” Angellino, 688 F.3d at

775 (quoting Peterson v. Archstone Cmties. LLC, 637 F.3d 416, 418 (D.C. Cir. 2011) (citing

LCvR 83.23)).




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       It is FURTHER ORDERED that Attorney Elias N. Sakalis, to whom this order will be

mailed, shall provide a copy to Gosain.


       SO ORDERED.

                                                       /s/ Timothy J. Kelly
                                                       TIMOTHY J. KELLY
                                                       United States District Judge

Date: December 3, 2019




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